Case 8:19-cv-02446-JVS-KES Document 11 Filed 02/07/20 Page 1 of 3 Page ID #:58



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  5
  6 Attorneys for Defendant
    APPLE SOCAL LLC
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  8
  9                         UNITED STATES DISTRICT COURT

 10                       CENTRAL DISTRICT OF CALIFORNIA

 11
 12 MIRIAM MALDONADO,                               Case No. 8:19-cv-02446 JVS (KESx)

 13                                                 NOTICE OF INTERESTED
                   Plaintiff,                       ENTITIES
 14
            v.                                      The Hon. James V. Selna
 15
                                                    Action Filed:    December 17, 2019
 16 APPLE SOCAL LLC D/B/A                           Trial Date:      Not Set
    APPLEBEE’S; BRANSFORD W.
 17 JACKSON, TRUSTEE OF
 18 BRANSFORD W. JACKSON TRUST,
 19                Defendants.
 20
      APPLE SOCAL LLC,
 21
                   Cross-Complainant,
 22
 23         v.
 24 W. JACKSON BRANSFORD,
 25 TRUSTEE OF BRANSFORD LIVING
      TRUST,
 26
                   Cross-Defendant.
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                                                d

      NOTICE OF INTERESTED ENTITIES OF APPLE SOCAL LLC                Case No. 8:19-cv-02446
Case 8:19-cv-02446-JVS-KES Document 11 Filed 02/07/20 Page 2 of 3 Page ID #:59



  1         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant and Cross-
  2 Complainant Apple SoCal LLC discloses that it is a Delaware limited liability
  3 company that has one member, Apple American Group LLC.
  4
  5 Dated: February 7, 2020             APPLE AMERICAN GROUP LLC
  6
  7
  8
                                        By:
                                        Jenna M. Yott
  9                                     Attorneys for Defendant and Cross-Claimant
 10                                     APPLE SOCAL LLC
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      NOTICE OF INTERESTED ENTITIES OF APPLE SOCAL LLC             Case No. 8:19-cv-02446
Case 8:19-cv-02446-JVS-KES Document 11 Filed 02/07/20 Page 3 of 3 Page ID #:60



  1                             CERTIFICATE OF SERVICE
  2         I hereby certify that I electronically filed the foregoing with the Clerk of the
  3 Court for the United States District Court for the Central District of California by
  4 using the CM/ECF system on February 7, 2020.
  5         Participants in the case who are registered CM/ECF users will be served by the
  6 CM/ECF system.
  7         I further certify that some of the participants in the case are not registered
  8 CM/ECF users. I have dispatched the foregoing to a third party commercial carrier
  9 for personal delivery within 3 calendar days and placed a true copy thereof enclosed
 10 in a sealed envelope with First Class postage thereon fully prepaid, in the United
 11 States Mail at San Francisco, California to the following non-CM/ECF participants:
 12         W. Jackson Bransford
 13         Trustee for the Bransford Living Trust
            17682 Mitchell North, #200
 14
            Irvine, CA 92714
 15
 16 Dated: February 7, 2020           APPLE AMERICAN GROUP LLC
 17
 18
                                      By:                                       .
 19                                         Jenna M. Yott
 20                                         Attorneys for Defendant & Cross-
                                            Complainant Apple SoCal LLC
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      NOTICE OF INTERESTED ENTITIES OF APPLE SOCAL LLC                Case No. 8:19-cv-02446
